     Case 2:14-cr-00168-TOR             ECF No. 1704         filed 05/17/16      PageID.8424 Page 1 of 2
PROB 12C                                                                                  Report Date: May 17, 2016
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: John H. Huscusson                         Case Number: 2:14CR00168-TOR-17
 Address of Offender:                         , Elk, Washington 99009
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: October 7, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344, and 1349
 Original Sentence:       Prison 1 day                       Type of Supervision: Supervised Release
                          TSR - 48 Months
 Asst. U.S. Attorney:     George J. C. Jacobs, III           Date Supervision Commenced: October 7, 2015
 Defense Attorney:        Colin G. Prince                    Date Supervision Expires: October 6, 2019

                                          PETITIONING THE COURT

              To issue a SUMMONS and incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 01/05/2016 and 03/09/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           6            Special Condition # 15: You shall abstain from the use of illegal controlled substances, and
                        shall submit to urinalysis or sweat patch testing, as directed by the supervising officer, but
                        no more than six tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: John Huscusson violated the conditions of his supervised release by
                        failing to submit to a urinalysis test on May 5, 2016, contrary to special condition number
                        15.

                        While attending a substance abuse treatment group session at Alcohol Drug Education
                        Prevention and Treatment (ADEPT) in Deer Park, Washington, Mr. Huscusson was directed
                        to provide a urine sample for testing prior to leaving the premises. Mr. Huscusson
                        subsequently left the facility without providing a sample.
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     05/17/2016
                                                                        s/Jeremy M. Tracy
                                                                        Jeremy M. Tracy
                                                                        U.S. Probation Officer

 THE COURT ORDERS

 [X ]     No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                        Signature of Judicial Officer

                                                                         May 17, 2016
                                                                        Date
